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                             Motion To Reconsideration

United States of America                                            Case No. 6: 17-cv-0 1230
       Plaintiff

       v.s                                                          Kansas District Court

 96,935.00 in U.S Currency                                          Chief Judge Eric F. Melgren
   Defendant


To the Honorable Eric F Melgren,

With respect to the Honorable Court, Jonathan Querisma is asking that above case by reopened so he
can rightfully reclaim his funds that were taken in 201 7 by law enforcement. There was a traffic stop
conducted in 2017 I Hayes Kansas and money was taken that belonged to Jonathan Querisma. The
money was to be dropped off in Colorado by a friend who was an occupant of the vehicle for Jonathan
Querisma but for whatever reason was seized by law enforcement. For safety, Mr. Querisma did not
tell his friend Kareem Mitry how much money was enclosed in a bag, but only asked him to take it for
him. Jonathan Querisma, who is more popularly known by Charisma Mufasa is a current celebrity
entertainer and former professional football player. The money taken from the vehicle was listed by the
Kansas District Court as "forfeiture property-drugs" but is no way tied to any illegal activity and there
is no evidence supporting that claim, which we can rightfully prove in a court oflaw. Due to a series of
unfortunate events and severe tour scheduling, Mr. Querisma was unable to claim the money back
immediately and underwent life changing trauma after he was shot five time (and currently till going
to court for the matter). Mr. Querisma is currently undergoing a disability case that has been going on
for years on top of managing a team of employees and an entertainment career. With health issues and
serious life changing matters, I wa not able to immediately attend to the matter. Mr. Querisma has the
proper documentation to show the money belongs to him rightfully and believes the court should
reopen the case after the previous default judgement. I am asking for my rightful day in court to claim
what I have worked extremely hard for. Reopening the case we believe will expose a proper resolution
and a righteous one. Thank you for your time . New evidence, which include the owner of the money
inside the vehicle and his paperwork of how he earned it is now available that was not at the previous
times in this matter.


                                    STATEMENT OF THE LAW

A. The proper test in consent search cases is not whether there was a waiver of 4 th Amendment rights,
but whether the consent to search was voluntary under the totality of the circumstances. United States v.
Price, 925 F. 2d 1268, 1270 (10 th Cir. 1991)

B. Whether the consent to earch is voluntary or was a product of dure s or coercion , express or
implied, is a question of fact to be determined from the totality of the circumstances and is a matter
which the state has the burden of proving.
United States v. Werking, 915 F. 2d 1404(101" Cir. 1990):
United States v Bell,892 F. 2d 959, 965 (10 th Cir. 1989),
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Because there is belief the initial stop was unlawful, the government bears a heavy burden in
connection with consent issue to search the vehicle .
United States v. Recalde, 761 F. 2d 1448, 145 7 (10 th Cir 1985)
United States v. Deases, 91 8 F. 2d 118, 122 n. l (10 th Cir 1990)

C. The court's determination may be based on evidence already in the record, including any written
plea, or additional evidence submitted by parties. If the forfeiture is contested, on either party's request
the court must conduct a hearing after the verdict or finding of guilty .

Fed Criminal Procedure.Rule 32.2 (B)

D. A motion for reconsideration of orders must be based on ( 1) an intervening change in controlling
law, (2) the availability of new evidence, or (3) the need to con-ect clear en-or or prevent manifest
injustice." The decision whether to grant or deny a motion for reconsideration is committed to the
court's discretion. A motion for reconsideration is appropriate if the court has obviously
misapprehended a party ' s position on the facts or the law. "D.Kan. Rule 7.3(b)

Wright ex rel. Trust Co. of Kan. v. Abbott Labs. , inc., 259 F.3d 1226, 1235-36 {10 th Cir. 2001).




A copy of this docwnent has been sent to the Clerk of Cow-ts and the Chamber of Chief Judge Eric
Melgren.

U.S District Court
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My contact information is listed below

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SignatureX
                                                     January 18, 2022
